                      Case 5:20-cv-01889-EGS Document 1-2 Filed 04/14/20 Page 1 of 3


                                                                         I N T H E U N I T E D ST A T E S D I ST R I C T C O U R T
                                                                    F O R T H E E A S T E R N D I ST R I C T O F P E N N S Y L V A N U

                                                                    C A SE                    MA      N A GE                    MENT                   T R A C K D E SI G N A T I O N FO R                                                                        M



Mo        ish           e   G    e   ige r                                  ,                                                                                         |       .                                                                 C I V I L A C T I ON




N a ti o n w id e Cr e d it I n                             ,
                                                                        c                                                                                             }                                                                         N O           .




In      a c c o r d a n c e w it h t h e C i v i l J u s t i c e E x p e n s e a n d D e l a y R e d u c t io n P l a n o f t h i s c o u r t      c o u n s e l fo r                                                                                                                    ,




p l a i n t i f f s h a l l c o m p l e t e a C a s e M a n a g e m e n t T r a c k D e s i g n a t io n F o r m i n a l l c i v i l c a s e s a t t h e t i m e o f
f i l i n g th e c o m p l a i n t a n d s e r v e a c o p y o n a l l d e f e n d a n t s ( S e e § 1 : 0 3 o f t h e p l a n s e t f o r t h o n t h e r e v e r s e                .




s i de o f t h i s f o r m
                                  ) I n th e e v e n t t h a t a d e f e n d a n t d o e s n o t a g r e e w i t h th e p l a i n t i ff r e g a r d i n g s a i d
                                                        .




d e s i g n a t i o n t h a t d e f e n d a n t s h a l l w it h i t s fi r s t a p p e a r a n c e s u b m i t t o t h e c l e r k o f c o u rt a n d s e r v e o n
                                     ,                                                                        ,                                                                                   ,


t h e p l a i n t i ff a n d a l l o t h e r p a rt i e s a C a s e M a n a g e m e n t T r a c k D e s i g n a t i o n F o r m s p e c i f y i n g t h e t r a c k
                                                                                                                  ,




t o w h i c h t h a t d e f e n d a n t b e l i e v e s t h e c a s e s h o u l d be a s s i g n e d                                                                                                    .
                                                                                                                                                                                                                                                                                     .




 SE L E C T O N E O F T H E F O L L O                                                                                       WI N G           C A SE                       MANA                    G EM E N T T R A C K S:


 (a )         H a b e a s C o r pu                              s
                                                                    ~       C a se            s    br o   u       g ht        u n   de r 28 U S C             .           .       .

                                                                                                                                                                                      § 2 24 1              to        ^                                                                              ()
 (b )         So        c ia l S e c u r i t y - C a s e s r e q u e s t i n g r e v i e w o f a d e c i s i o n o f t h e S e c                                                                                                     r et a r   y    o    f H e a lt h
              a   n     d H u m a n S e r v i c e s d e n y i n g p l a i n t i ff S o c ia l S e c u r i t y B e n e fi t s                                                                                                   .

                                                                                                                                                                                                                                                                                                     ( )
                                                  -
 (c )         A r b it ra t io                n         C ases                      re
                                                                                             q u ir e d to b e d e s ig n a                              te   d fo                r   a r   b itr a ti o n                un       de r L   o c     al        Ci v il R          u   le 5 3 2.   .

                                                                                                                                                                                                                                                                                                     (       )

 (d )         A     s   be sto           s ~      C    a s e s              in v         o   lv in g      c           l a im    s   fo   r
                                                                                                                                             p   e r so n a               l inj u r y             o r       p   r o   p e rt y d a m a g e                        fr om
              e x       po   s   u r e to             a s       be      sto s        .


                                                                                                                                                                                                                                                                                                     ()

 (e )          S p e c i a l M a n a g e m e n t ~ C a s e s t h a t d o n o t f a l l i n t o t r a c k s ( a ) t h r o u g h (d ) t h a t a r e
              co   m m o n l y r e f e r r e d t o a s c o m p l e x a n d t ha t n e e d s p e c i a l o r i n t e n s e m a n a g e m e n t by
              t h e c o u rt   ( Se e r e v e r s e s i d e o f t h i s f o r m f o r a de t a i l e d e x p l a n a t i o n o f s p e c i a l
                                          .




              m a n a ge m e n t c a s e s )                                    .

                                                                                                                        ,
                                                                                                                                                                                                                                                                                                     ( )

 (f )         S ta n d a r d                  M a n a g e me                         n       t -    C a s e s th a t d o                         n o t       fa l l i n t o                 a n   y on e              o    f th e       o   ther         tr       a c   ks   .

                                                                                                                                                                                                                                                                                                     (   X       )




 D   a    te                                                                                   A^                      ^    ^I r or T i e y
                                                                                                                                                  -
                                                                                                                                                      a t-    la w




 T   el epho n e                                                                                                            FAX N            u    m be            r




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Case 5:20-cv-01889-EGS Document 1-2 Filed 04/14/20 Page 2 of 3
Case 5:20-cv-01889-EGS Document 1-2 Filed 04/14/20 Page 3 of 3
